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AO 442 (Rev O1/09) Arrest Warrant

UNITED STATES DISTRICT COURT

 

for the
United States of America Case: 1:21-cr-00481
ee Kalu ) Assigned to: Judge Hogar; Fhomas F.
5 Assign Date: 7/20/2021
se ) Description: INDICTMENT (B)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested} _Onwuchekwa Nnanna Kalu ,

who is accused of an offense or violation based on the following document filed with the court:

& Indictment O Superseding Indictment OC Information © Superseding Information © Complaint
© Probation Violation Petition © Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

18 U.S.C. § 371 (Conspiracy);

18 U.S.C. § 1343 (Wire Fraud);

18 U.S.C. § 1956 (Laundering of Monetary Instruments);

18 U.S.C. § 2 (Aiding and Abetting, Causing an Act to be Done)

Say G. Michael Harvey
A A i 2021.07.20
Neely vr 15:49:42 -04'00"

Date: 07/20/2021 s
issuing officer's signature

 

City and state: _ Washington, DC G. Michael Harvey, United States Magistrate Judge

Printed name and title

 

 

Return
This warrant was received on (datey 7 / Zo/ ZO7C!_, and the person was arrested on (dare) 4/4 /2o z S$
at (city and state) ( : :
Date: 4/7/2020 VEE ee _.

Arresting officer's signature
Lh cent. ([ cose. ..SM

~ Printed name and title

 

 

 
